                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


UNITED STATES OF AMERICA                          )
                                                  )           Case No. 1:14-CR-42
v.                                                )
                                                  )           Judge Curtis L. Collier
RONDA ANN LEONARD                                 )


                                            ORDER

       On September 30, 2014, Defendant moved for a psychiatric examination (Court File No. 34).

United States Magistrate Judge William B. Carter granted Defendant’s motion and ordered a mental

health evaluation (Court File No. 37). The findings of the sealed forensic report show Defendant

is currently competent to stand trial in this case (Court File No. 50). Defendant has waived her right

to a competency hearing (Court File No. 58).

       Based upon this information, the Magistrate Judge submitted a Report and Recommendation

(“R&R”), recommending this Court find Defendant competent to stand trial in this case (Court File

No. 59). Neither party filed an objection. Therefore, the Court ACCEPTS and ADOPTS the

Magistrate Judge’s R&R (Court File No. 59), pursuant to 28 U.S.C. § 636(b)(1), and

DETERMINES Defendant is competent to stand trial in this case.

       SO ORDERED.

       ENTER:


                                               /s/
                                               CURTIS L. COLLIER
                                               UNITED STATES DISTRICT JUDGE




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